                                                                              Case 3:05-cr-00167-WHA            Document 758       Filed 09/06/06    Page 1 of 1



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                                                                          6                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   UNITED STATES OF AMERICA,                               No. CR 05-00167 WHA
                                                                         11
United States District Court




                                                                                             Plaintiff,
                               For the Northern District of California




                                                                         12     v.                                                    ORDER ALLOWING RONNIE
                                                                         13                                                           CALLOWAY TO RECEIVE
                                                                              EDGAR DIAZ, RICKEY ROLLINS, DON                         EYEGLASSES
                                                                         14   JOHNSON, ROBERT CALLOWAY,
                                                                              DORNELL ELLIS, EMILE FORT,
                                                                         15   CHRISTOPHER BYES, PARIS RAGLAND,
                                                                              RONNIE CALLOWAY, ALLEN
                                                                         16   CALLOWAY, TERRELL JACKSON and
                                                                              REDACTED DEFENDANT NO. ONE,
                                                                         17                  Defendants.
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                                                                         19          Good cause appearing, the San Francisco County Jail is hereby ordered to accept a pair
                                                                         20   of plastic frame eyeglasses for Ronnie Calloway, to be delivered by his attorney.
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                                                                         22          IT IS SO ORDERED.
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                                                                         24   Dated: September 6, 2006
                                                                         25                                                      WILLIAM ALSUP
                                                                                                                                 UNITED STATES DISTRICT JUDGE
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